Mr. Richard Hill, Director Division of Mental Health Services, DHS 4313 West Markham Little Rock, Arkansas 72205-4096
Dear Mr. Hill:
You have requested approval, pursuant to the Interlocal Cooperation Act [A.C.A. § 25-20-101 et seq.], of two proposed interlocal agreements between the Department of Human Services, Division of Mental Health Services Research and Training Institute (DMHS-RTI) and the University of Arkansas for Medical Sciences Department of Psychiatry and Behavioral Sciences (UAMS-DPBS). These agreements are two-year renewals of agreements currently in place between the parties.
You have submitted copies of the agreements.
Under the terms of the agreements, the parties agree generally that DMHS-RTI will provide rotations, facilities, training, and consultation for UAMS residents and students in psychiatry; that UAMS-DPBS will provide residents for such programs and will encourage their availability for weekend and night calls at the Arkansas State Hospital; that the parties will otherwise cooperate in residency training programs; and that DMHS-RTI will fund certain stipends for residents and will reimburse UAMS-DPBS monthly for costs as they are incurred and billed.
The agreements further set forth provisions explicitly addressing the purpose of the agreements, the duration of the agreements, the administrator of the agreements, the budget for the agreements and implementation thereof, the implementation and amendment of the agreements, the acquisition and disposal of property used pursuant to the agreements, and termination of the agreements.
The Interlocal Cooperation Act requires that interlocal agreements for joint or cooperative action specify the following items:
(1) The duration of the agreement;
(2) The purposes of the agreement;
  (3) The manner of financing the joint or cooperative undertaking and of establishing and maintaining a budget for it;
  (4) The methods of accomplishing termination of the agreement and for the disposal of property (if any) upon termination;
(5) Any other necessary and proper matters.
A.C.A. § 25-20-104(c).
In addition, if the interlocal agreement does not establish a separate legal entity to conduct the joint or cooperative undertaking, it must specify the following items:
  (1) The provision for an administrator or a joint board that will be responsible for administering the joint or cooperative undertaking;
  (2) The manner of acquiring, holding, and disposing of real and personal property (if any) used in the joint or cooperative undertaking.
A.C.A. § 25-20-104(d).
The agreement that you have submitted must specify all of the above-listed items.
Having analyzed the agreements between DMHS-RTI and UAMS-DPBS, I find that they meet the above-outlined requirements of the law, and are therefore hereby approved in their current form.
Assistant Attorney General Suzanne Antley prepared the foregoing opinion, which I hereby approve.
Sincerely,
MARK PRYOR Attorney General
MP:SA/cyh